Case 2:92-cv-02062-.]PI\/|-tmp Document 2026 Filed 07/14/05 Page 1 of 5 ` Page|D 9677

 

IN THE UNITED sTATEs DIsTRICT coURT "'"ED BY ,//Q ha
FoR THE wEsTERN DISTRICT 0F TENNESSEE 7 `
wEsTERN DIVISION 05 JUL H. PH h 39
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UNITED sTATEs 0F AMERICA, ) W U§.?"SWCTCOW
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) ?HE
Plaintiff, )
)
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v. )
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)
sTATE 0F TENNESSEE, ET AL., )
) No.: 92-2062-D/A
Defendants, and )
)
PEoPLE FIRsT 0F )
TENNESSEE, ET AL., )
)
lntervenors, )
)
PARENT-GUARI)IAN AssoclATIoN )
0F ARLINGTON DEVELoPMENTAL )
cENTER, )
)
Intervenors. )
)

 

ORDER GRANTING MOTION TO ALLOW TEMPORARY PLACEMENT OF
JEFFREY C. IN A SKILLED NURSING FACILITY

 

Before the Court is the motion of Defendant State of Tennessee to allow for the temporary
placement of Arlington Developmental Center class member Jeffrey C. in a skilled nursing facility.
Since September 2004, Jeffrey C. has been in Baptist East Hospital (“Baptist”). Jeffrey C. has made
significant improvements; however, he remains fragile and requires 24-h0ur licensed nursing
supports to attend to his needs.

Baptist has told Defendant and Comrnunity Services Network (“CSN”) that Jeffrey C. is

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medically stable and ready for discharge Although Jeffrey C.’s family wants him to live in a
specialized medical model home, Defendant is unable to place him in such a home at this time.
Defendant asserts that such a home will be available to Jefl`rey C. within 120 days of the entry
of this order. Given the lack of appropriate housing for Jeffrey C., Defendant, CSN, and
Jeffery C.’s farnin believe that an interim placement in a skilled nursing facility is necessary.
The Court agrees that such a placement is warranted Accordingly, the Court grants Defendant’s
motion and orders Jeffrey C. moved to Kirby Pines Manor, a facility capable of meeting Jefii'ey C. ’s
needs in the interim.

Defendant has 120 days from the entry of this order within which to prepare the appropriate
housing for Jeffrey C. Thereafter, should such housing not be available, Defendant shall be fined
$1,000 per day until Jefi`rey C. is properly rehoused. During Jeffrey C.’s 120 day stay, Defendant
shall provide the Court Monitor and the parties with monthly reports regarding Jeffrey C.’s status,
including the status of the development of his community placement and transition into the

community

IT Is so 0RDERED this ;;Z “%` day ofnuy, 2005.

    

ERNICE B UIE DONALD
UNITED STA'I`ES DISTRICT COURT

     

UNITED s'T'TAEs DISTRIC COUR ESTRNE ISRITOF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 2026 in
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Honorable Bernice Donald
US DlSTRlCT COURT

